 Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 1 of 8 PageID 1




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA

                                          CASE NO.:


PATRICIA M. BANKS, as Personal Representative
of the ESTATE of GEORGE BANKS, and as
Decedent’s surviving spouse,

       Plaintiff,

vs.

UNITED STATES OF AMERICA,

       Defendant.
                                                _______ /

                                         COMPLAINT

       Plaintiff, Patricia M. Banks, as Personal Representative of the Estate of George Banks

and as Decedent’s surviving spouse, sues Defendant, the United States of America, and states:


            I. INTRODUCTION, PARTIES, JURISDICTION, AND VENUE

       1.      This is an action against the Defendant, the United States of America, under

the Federal Torts Claim Act, 28 U.S.C. §§ 1346(b)(1) and 2671 et seq., for negligence and

medical malpractice in connection with the acts and/or omissions of the Department of

Veteran Affairs.

       2.      The claims herein are brought against the Defendant pursuant to the Federal

Tort Claims Act, 28 U.S.C. § 1346(b)(1), for money damages as compensation for personal

injuries and death caused by the Defendant’s negligence.

       3.      Plaintiff Banks has fully complied with the provisions of 28 U.S.C. § 2675 of

the Federal Tort Claims Act. See Form 95, attached hereto as Exhibit A.


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  Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 2 of 8 PageID 2




        4.      This suit is timely filed, in that Plaintiff Banks timely served notice of her claim

on the Department of Veteran Affairs less than two years after the incident forming the basis

of this suit.

        5.      Plaintiff Banks is filing this Complaint pursuant to 28 U.S.C. § 2401(b) after

receiving the Department of Veteran Affairs’ August 22, 2019, notice of “final denial.”

SeeAdministrative Tort Claim Denial Letter, attached hereto as Exhibit B.

        6.      Plaintiff Banks is, and at all times relevant hereto was, a citizen of Florida who

resides in Pinellas County.

        7.      Defendant, the United States of America, including its directors, officers,

operators, administrators, employees, agents, and staff at the Department of Veterans Affairs

are hereinafter collectively referred to as the “VA.”

        8.      Defendant, the United States of America, through the VA, operates the

facilities at 9500 Bay Pines Boulevard, Bay Pines, FL 33744; and at 13000 Bruce B. Downs

Boulevard, Tampa, Florida 33612.

        9.      At all times relevant to this Complaint, the VA held itself out to Plaintiff’s

husband, and eligible beneficiaries, as providers of high-quality health care services, with the

expertise necessary to maintain the health and safety of patients like the Plaintiff’s husband.

        10.     At all times relevant to this Complaint, the directors, officers, operators,

administrators, employees, agents, and staff of the VA were employed by and/or acting on

behalf of the Defendant.

        11.     Jurisdiction is proper under 28 U.S.C. § 1346(b)(1).

        12.     Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. §

1402(b) as the Plaintiff resides in Pinellas County, Florida.


                                              2
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 Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 3 of 8 PageID 3




                               II. FACTUAL ALLEGATIONS

       13.      Plaintiff incorporates by reference Paragraphs 1 through 12 as though fully set

forth herein.

       14.      George Banks served in the Army in Germany, during the Vietnam War, from

approximately August 1966 – August 1968.

       15.      George Banks’ military occupational specialty (“MOS”) was a petroleum

heavy vehicle operator, known today as a petroleum supply specialist.

       16.      George Banks’ in-service military occupation involved the transfer of bulk

petroleum to and from Mr. Banks’ truck.

       17.      Benzene is a colorless liquid with a sweet smell and is a natural component of

petroleum.

       18.      George Banks was honorably discharged from the Army shortly after his

service ended in approximately August 1968.

       19.      The scientific literature about benzene has advanced since George Banks’

honorable discharge.

       20.      Today, benzene is classified as a known carcinogen.

       21.      Today, it is not disputed that acute myeloid leukemia and acute

nonlymphocyte leukemia are caused by benzene exposure.

       22.      The current scientific literature states that the latency period from benzene

exposure to development of acute illness or chronic disease can be up to 30 years post-

exposure.

       23.      On approximately February 28, 2000, George Banks drove himself to the

James A. Haley Veterans’ Hospital (the “VA Medical Center”), located at 13000 Bruce B.

                                             3
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  Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 4 of 8 PageID 4




Downs Boulevard, Tampa, Florida 33612, having what he thought was the flu.

           24.   George Banks’ initial diagnosis from the VA Medical Center was pneumonia.

           25.   A few days later, while still at the VA Medical Center, George Banks was

diagnosed as having acute myeloid leukemia (“AML”).

           26.   AML is a cancer of the blood cells and is characterized by the rapid growth of

abnormal cells in the bone marrow and blood.

           27.   While at the VA Medical Center, George Banks had multi-symptom organ

failure.

           28.   Upon admission on approximately February 28, 2000, George Banks was never

released from the VA Medical Center.

           29.   George Banks died at the VA Medical Center on April 6, 2000.

           30.   George Banks’ cause of death included AML, febrile neutropenia,

pancytopenia, and intracranial hemorrhaging.

           31.   Subsequent to George Banks’ passing, Plaintiff sought surviving spouse benefits

from the VA.

           32.   While working on obtaining surviving spouse benefits, Plaintiff came to know

staff members of the VA St. Petersburg Regional Office, located at 9500 Bay Pines Boulevard,

Bay Pines, FL 33744.

           33.   In approximately 2013, Plaintiff learned from an employee of the St. Petersburg

Regional Office that the VA had a tracking system for veterans who were exposed to various

environmental hazards and that her husband, George Banks, had “slipped through the

cracks” and been omitted from this tracking system.

           34.   The purpose of the tracking system is so that veterans who were exposed to


                                              4
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 Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 5 of 8 PageID 5




various environmental hazards, including benzene, would be followed up and monitored by

the VA regarding health status.

       35.      After multiple examinations by the Board of Veterans’ Appeals, an Order was

entered by Judge Harvey P. Roberts on September 20, 2018, granting entitlement to service

connection for the cause of George Banks’ death and finding that George Banks’ AML was

etiologically related to active service (the “Order”). The Order is attached hereto as Exhibit

C.

       36.      The ruling from the Order was the earliest point at which the Plaintiff had

confirmation that George Banks’ death was causally connected to his benzene exposure while

in service.

       37.      But for the VA’s negligent failure to warn George Banks of the evolving

literature surrounding benzene exposure and the VA’s failure in omitting George Banks from

the VA tracking system, George Banks would not have died on April 6, 2000.

       38.      Plaintiff, Patricia M. Banks, has been appointed, or will shortly be appointed,

as the personal representative of the Estate of George Banks, the decedent.


                                          III. CLAIM

                          COUNT 1: NEGLIGENT FAILURE TO WARN

       39.      Plaintiff incorporates by reference Paragraphs 13 through 38 as though fully set

forth herein.

       40.      After George Banks’ discharge, the Defendant, by and through its agents,

servants, and employees, acting within the course and scope of their employment with the

United States of America, had a duty to warn George Banks of the dangers of benzene

exposure as the scientific literature continued to evolve.

                                             5
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 Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 6 of 8 PageID 6




       41.       Further, George Banks never had any knowledge of the aforementioned causal

relationship between his exposure to benzene and subsequent contracting of AML, nor was

it reasonably ascertainable by him.

       42.       The Defendant, by and through its agents, servants, and employees, acting

within the course and scope of their employment with the United States of America,

subsequent to George Banks’ discharge from the Army in August 1968, were negligent, and

breached their duty of care to George Banks by committing the following acts and/or

omissions, in that:

             a. The VA failed to provide fair and adequate warning to George Banks of the

                 toxicity of benzene after his discharge in August 1968;

             b. After George Banks’ discharge from the Army, Defendant, in light of the

                 reasonably available knowledge, should have known about the dangers of

                 benzene exposure and warned George Banks; and

             c. The unreasonable risk of danger posed by benzene exposure was neither

                 known, nor open and obvious, to George Banks.

       43.       As a direct and proximate result of Defendant’s negligence, George Banks

sustained serious and permanent personal injuries in and about his body, resulting in his

wrongful death; incurred medical expenses and all other damages permitted under Florida’s

wrongful death statute to include, but not be limited to, funeral and burial expenses and the

loss of future earnings and net accumulations. Patricia M. Banks, the surviving spouse of

George Banks and personal representative of his Estate, has suffered damages, including loss

of support and services, companionship, comfort, attention, as well as mental anguish, pain

and suffering.


                                              6
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 Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 7 of 8 PageID 7




       44.       The acts and/or omissions set forth above would constitute a claim under the

laws of the State of Florida.

                                COUNT 2: MEDICAL NEGLIGENCE

       45.       Plaintiff incorporates by reference Paragraphs 13 through 38 as though fully set

forth herein.

       46.       The Defendant had a duty to provide ordinary care, and to exercise that

standard and degree of care and skill required of health care providers, consistent with the

expertise that the Defendant presented to the community at large.

       47.       The Defendant breached its duty of care to George Banks by omitting him from

its tracking system of those veterans who were exposed to environmental hazards and not

following up and monitoring him regarding his health.

       48.       As a direct and proximate result of Defendant’s negligence, George Banks

sustained serious and permanent personal injuries in and about his body, resulting in his

wrongful death; incurred medical expenses and all other damages permitted under Florida’s

wrongful death statute to include, but not be limited to, funeral and burial expenses and the

loss of future earnings and net accumulations. Patricia M. Banks, the surviving spouse of

George Banks and personal representative of his Estate, has suffered damages including loss

of support and services, companionship, comfort, attention, as well as mental anguish, pain

and suffering.

       49.       The acts and/or omissions set forth above would constitute a claim under the

laws of the State of Florida.




                                              7
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 Case 8:20-cv-00424-SDM-JSS Document 1 Filed 02/24/20 Page 8 of 8 PageID 8




                                IV. REQUEST FOR RELIEF

       WHEREFORE, based on the foregoing, Plaintiff respectfully prays that the Court:

Enter judgment for Plaintiff; award money damages, costs, pre- and post-judgment interest as

allowed by law, and a reasonable attorney’s fee; and any further and additional relief this

Court may deem proper.


                                V. JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury as to all issues so triable.


                                     Respectfully Submitted By:



                                     /s/
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                                             8
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